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* Pltf Date Offered     Marked Admitted
   64     2/13/2013       Yes   Yes          Original Prescriptions Obtained from
                                             Various Pharmacies(filed Under Seal)
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                      No   Transcript of Schultz recording 10/28/10
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